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                            UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY




YEHUDA FARKAS         ,                                       Civil Action No.:


                              Plaintift
               -against-                                    COMPLAINT FOR VIOLATIONS
                                                            OF THE TELEPHONE
                                                            CONSUMER PROTECTION ACT

JP   MORGAN CHASE & CO.,

                              Defendant(s).                 DEMAND FOR JURY TRIAL



                     INTRODUCTION/PRELIMINARY STATEMENT


         PlaintiffYEHUDA FARKAS ("Plaintiff'), by        and through his attorney,   M. Harvey

Rephen   & Associates, P.C., by Edward B. Geller, Esq., P.C., Of Counsel, as and for his

Complaint against the Defendant JP MORGAN CHASE & CO , (hereinafter referred to as

Defendant(s)"), respectfully sets forth, complains and alleges, upon information and belief, the

following:


                     INTRODUCTIONIPRELIMINARY STATEMENT

         1.    Plaintiff brings this action on his own behalf for damages and declaratory and

injunctive relief arising from the Defendant's violation(s) under Title 47 of the United States Code,

$227 commonly known as the Telephone Consumer Protection Act (TCPA).

         2.    Defendant is subject to, and required to abide by, the laws of the United States

and the State of New Jersey, which include the Telephone Consumer Protection Act        of 1997,47
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U.S.C. g227. etseq. ("TCPA") and its related regulations, including 47 C.F.R. $64.1200 ("TCPA

Regulations"), as well as the opinions, regulations and orders issued by the Federal

Communications Commission to implement and enforce the TCPA, the telemarketing

regulations issued by the Federal Trade Commission, 16 C.F.R. $310.4(dX2).

                                                    PARTIES

         3.            plaintiffYEHIJDA FARKAS is a residenl ol'the State of NEW            JERSE,Y"


 residing at 801 MADISON AVENIJE, APT 815^ LAKEWOOD. NJ 08701.

         4.            Defendant JP MORGAN CHASE & CO , has a Corporate Headquarters

 located at27A PARK AVENLjE NEW YORK" NIY 10017'


                                          FACTPAL ALLEGATIONS

         5.            Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered
               .,1,,
                       through '14' herein with the same force and effect as if the same were set forth at

length herein.

          6.           On or about December 20lT,Defendant began communicating with the Plaintiff by

placing automated calls to his cell phone number 341-779-3604. The Defendant would call from

numbers g47-426-9209,947-426-9203,407-732-2416 and 210-520-0146 aJid leave pre- recorded

messages.

          i.           On December 14, 2Ol7 the Plaintiff called into the Defendant and was connected

 with   a female       representative. She asked for the Plaintiff s first and last name'

          8.           The Plaintiff informed her he was receiving calls to his cell phone and would like

 for them to stop.
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     Case


/
            9.       After the coqclusion of the call and the Plaintiffs request to have the calls stop,

    the Defendant continued to call the PlaintifPs cellphone number 347-779-3604. To date, the

    Plaintiff has received at least 175 calls from the Defendant since December 14, 2017.

                                       FIRST CAUSE Or ACTIOIY
                                           (Wolations of the TCPA)

            10.      Plaintiffrepeats, reiterates and incorporates the allegations contained in paragraphs

    numbered "1" tlrrough"g)'} herein with the same force and effect as if the same were set forth at

    lenglh herein.

            11.      AccordingtotheTelephoneConsumerProtection Act47 USC $227(bXAXiii),"It

    shall be unlawful for any person within the United States, or any person outside the United States

    if the recipient is within the United States (A) to make any call (other than a call made for

    emergency pu{poses or made with the prior consent of the called party) using any automatic

    telephone dialing system or an artificial or pre-recorded voice--- (iii) to any telephone number

    assigned to a paging service, cellular telephone service, specialized mobile radio service, or other

    radio common carrier service, or any service for which the called party is charged for the call,

    unless such call is made solely to collect a debt owed to or guaranteed by the United States."

            12.      It has been determined that the statute language adding "or" any service for which

    the ealled party is charged, is not accurately interpreted to require that Plaintiff must claim that

    Defendant's calls incurred charges. See Breslow c. Wells Fargo Bank, N.A.857 F. Supp 2d

    1316,   l3lg (S.D. Fla. 2012) and Cavero   v. Franklin Collection Serv.. Inc.,2012   WL 279448

    (S.D. Fla. 2012). A number of Courts have addressed the issue of a Plaintiffbeing charged, with

    all agreeing that the TCPA does not require a Plaintiff who received calls on hisftrer cell phone to

    allege that he/she was charged for the call. For example, in Ma.nno v.Healthcare Revenue

    Recoverv Grp.. LLC- 289 F.R.D. 674 (S.D. Fla.2013), the Court held that "The TCPA does not
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                            'charged for' the calls in order to have standing to sue'" In Osorio v'
require the plaintiff to be
                                                                                             'any
                                            (l1th Cir' 2}l4),the Court stated: If the phrase
State Farm Bank, l.'.5.8.,746 F .3d 1242
                                                                                               per
                                              for the call' requires that the party be charged
service for which the called party is charged
               .paging service, cellular telephone service, specialized mobile radio service, or other
call for the
                                               party to prohibit autodialed calls, then the listing
radio common carrier service, in order for the

                                                 they are already included under them
                                                                                       'any
of these services would be superfluous because
                                                                           'any service for which
service for which the called party is charged.'
                                                on the other hand, reading
                                                                                      'paging service,
                                              an additional item beyond any calr to a
 the called party is charged for the call, as

                                                radio service' or other common carrier service"
 cellular telephone service, specialized mobile
                                                    gives independent meaning to each term'"
 regardless of whether the called party is charged,
                                                                          and its considerable body of
         13.        It is thus clear from the plain language of the TCPA'
                                               when a cellular telephone is called with an
 resultant case law, that the TCPA is violated

                                              charges are alleged or incurred'
 automatic dialer without consent, even if no
                                                                                    on or about
          t4.        witir the autodialed calls to Plaintilf s telephone commencing

  December     of   2017 and continuing at a rate   of approximater,v 175 times thereafter. the Defendant

                                                     but nor limitecl to 47 USC $227(bxAxiii)'
  violated various provisions of the TCpA, including
                                                                                   that no fufiher calls
          15.        l.he Defendant, having been informecl that PlaintitTrequested

  bereceived.willfullyviolatedtheT.CPAat}east175times.

           16.       pursuant to the TCPA omnibus Declaratory Ruling and order, Juiy 2015,


  paragraphs 13g and 139, communications from
                                              banking institutions which are exempt ".-.are all


  intendedtoaddressexigentcircumstancesinwhichaquick,timelycommunicationwitha
                                                harms from occurring or' in the case of the
   consumer could prevent considerable consumer

                                                  the extent of harm that      will occur'"   Pursuant to
   remediation calls, could help quickly mitigate
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 Paragraph 139. (3) and (7) "In light of these considerations, we adopt the following conditions

 for each exempted call (voice call or text message) made by a financial institution:

 3) voice calls and text messages are strictly limited to purposes discussed in paras. 129-137

above and must not include any telemarketing, cross-marketing, solicitation, debt collection.
                                                                                              or

advertising content;

7) a financial institution must honor opt-out requests immediately.,'

        17.     Defendant is in violation of the TCPA paragraphs 139 (3) for, upon information

and beliel, having used its calls for debt collection and (7), failing to honor   Plaintifls   desire to

opt out of telephone communications despite Plaintiff s clear. unequivocal and repeated requests

that srrch automatic calls cease.

        18.     Defendant violated various provisions of the'ICPA. including but not limited to

47 USL- $227(bXAXiii).




                                         PRAYER FOR RELIEF

       WIIEREFORE, Plaintiffdemands judgment from the Defendant              as   follows:

               A.      For trebled damages to be awarded to the Plaintiff in accordance with the

TCPA, for each of the Defendant's willful or knowing violations of the TCpA.

               B.      A declaration that the Defendant's practices violated the TCpA;

                         C.            For any such other and further relief, as well as further

                                       costs, expenses and disbursements of this action, as this

                                       Court may deem just and proper.
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    Dated:February 7,20t9



                                       Respectfully submitted,




                                           Edward B. Geller, Esq.
                                           Edward B. Geller, Esq., P.C., Of Counsel to
                                           M. HARVEY REPHEN & ASSOCIATES, P.C.
                                           15 Landing Way
                                           Bronx, New York 10464
                                           Tel:(914)473-6783

                                           Attorney   for   the   Plaintffi   ',

                                           YEHUDA FARKUS




          To: JP MORGAN CHASE & CO
             270 PARK AVENUE
             NEW YORK, NY 10017


          (Via Prescribed Service)

          Clerk of the Court,
          United States District Court, District of New Jersey
          Clarkson S Fisher Building & U.S. Courthouse
          402Bast State Street Room 2020
          Trenton, New Jersey 08608

           (Via Electronic Court Filing)
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                                         AFFIRFIATiOi{



  l, Yehuda Farkas, under the penalty of perjury, cieposes and say:



          I   am the Plaintiff in the above entitled actisn" I have read

  the foregoing Complaint and know the contents thereof" The sarne are true to

  my knowledge, except as to rnatters therein stated to be alleged on inforrnation

  and belief and as to those matters I believe thern to be true.




                                               Yehtida Fa:-kas

                                                   ?ah   y/x isii*'*5 -    lPrinted]
                                                Defendant




  Sircrn to before me     this   ,iCru'day   of {t l3ri,'*'rq 2019

                                       ESTHER BHUCKMAN
                                 Natary Public, Stats of New JerseY
                                      My Cornmission ExPires
  Nctary Puhlic                         Dacenrber 21 ,2fr?2
